          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:06CR227


UNITED STATES OF AMERICA                  )
                                          )
                                          )
            vs.                           )           ORDER
                                          )
                                          )
KELLY DENISE MICHAEL                      )
                                          )


      THIS MATTER is before the Court on Defendant’s motion for leave to

file notice of appeal out of time, filed March 23, 2009.

      The Rules of Appellate Procedure provide that in a criminal case,

      [u]pon a finding of excusable neglect or good cause, the district
      court may . . . extend the time to file a notice of appeal for a
      period not to exceed 30 days from the expiration of the time
      otherwise prescribed [by this Rule].

Fed. R. App. P. 4(b)(4).

      On February 11, 2009, this Court denied Defendant’s motion for a

reduction of sentence pursuant to 18 U.S.C. § 3582 based on the recent

amendment to the Sentencing Guidelines for crack cocaine offenses. See

Order, filed February 11, 2009. A notice of appeal from that Order was




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due to be filed on or before February 26, 2009.1 Therefore, Defendant’s

notice of appeal filed March 9, 2009, is untimely.

     Defendant advises that she did not receive notice from her attorney

that her motion had been denied nor did she receive the Court’s Order until

after the appeal period expired. For the reasons stated in the motion, the

Court finds the Defendant has shown excusable neglect for the late filing of

the appeal and the time for doing so shall be extended.

     IT IS, THEREFORE, ORDERED that the Defendant’s motion for

leave to file notice of appeal out of time is ALLOWED, and the time for

filing an appeal is extended for 30 days from February 26, 2009.

                                      Signed: April 1, 2009




     1
     See Fed. R. Crim. P. 45(a)(2) (“Exclude intermediate Saturdays,
Sundays, and legal holidays when the period is less than 11 days.”).


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